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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE
COMMISSION,

                                 Plaintiff,                                   17-cv-8223 (PKC)

                -against-                                                 OPINION AND ORDER


MOHAMMED ALI RASHID,

                                  Defendant.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                In view of the agreement of the parties to waive a jury (Doc 91), the Court

modifies the Order of May 2, 2019 (Doc 90) to vacate the first and second paragraph and

ORDERS as follows:

                     1. Plaintiff’s direct testimony by affidavit of all witnesses within its control

                         shall be filed, together with a trial brief, by July 22, 2018. The trial brief

                         shall set forth the precise nature and amount of any fine, penalty,

                         disgorgement, injunctive or other relief proposed by plaintiff in the event

                         it prevails.

                     2. Defendant’s direct testimony by affidavit of all witnesses within its control

                         shall be filed, together with a trial brief by August 9, 2019, together with a

                         response to plaintiff’s proposed relief in the event it prevails.

                     3. Direct testimony by affidavit of any proposed rebuttal witness shall be

                         filed by plaintiff by August 16, 2019.
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               4. The Court directs counsel to meet face to face for at least one hour to

                  discuss proposed stipulations of fact. A joint pretrial order containing the

                  parties’ stipulation of facts (and all other requirements set forth in the

                  Court’s Individual Practices) shall be submitted to the Court by August 30,

                  2019.

               5. Submissions 1 through 4 above shall be filed on ECF, with two hard

                  copies delivered to Chambers, as well as a version of the text of the

                  submission on a DVD in MS Word format (excluding exhibits which may

                  be in pdf).

               6. The Final Pretrial Conference remains scheduled for September 6, 2019 at

                  11:00 a.m.


            SO ORDERED.




Dated: New York, New York
       May 17, 2019




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